Case 2:17-cv-02684-MKB-LB Document 480 Filed 09/19/22 Page 1 of 5 PageID #: 6805




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------- X
 BASIL SEGGOS, as Commissioner of the New York                         :
 State Department of Environmental Conservation and                    : Civil Action No. 2:17-cv-02684-
 Trustee of New York State’s Natural Resources, and the : MKB-LB
 STATE OF NEW YORK,                                                    :
                                                                       : SIXTH SUPPLEMENTAL
                    Plaintiffs,                                        : CONSENT DECREE
                                                                       :
                                 - against-                            :
                                                                       :
 THOMAS DATRE, JR. et al.,                                             :
                                                                       :
                    Defendants.                                        :
  -------------------------------------------------------------------- X

         Plaintiffs Basil Seggos, as Commissioner of the New York State Department of

 Environmental Conservation and Trustee of New York State’s Natural Resources, and the State

 of New York (together, the “State”), agree as follows with East End Materials, Inc. (“Settling

 Defendant” or “East End”):

         WHEREAS, on May 4, 2017, the State commenced this action pursuant to the

 Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”) and

 New York common law, seeking damages for injury to, destruction of, and loss of New York’s

 natural resources (“natural resource damages”) caused by the alleged release of hazardous

 substances at Roberto Clemente Park in Brentwood, Long Island, New York (the “Park”);

         WHEREAS, the State alleged in its complaint that Settling Defendant, among others, is

 liable to the State for natural resource damages at the Park, pursuant to CERCLA §§ 107(a)(3)

 and 113(g)(1), 42 U.S.C. §§ 9607(a)(3), 9613(g)(1), and that Settling Defendant is also liable to

 the State for common law negligence and for a public nuisance under the common law and Real

 Property Actions and Proceedings Law § 841;


                                                     1
Case 2:17-cv-02684-MKB-LB Document 480 Filed 09/19/22 Page 2 of 5 PageID #: 6806




           WHEREAS, the Court has already approved consent decrees in this action between the

 State and ten other defendants, see ECF Nos. 455, 458, 471;

           WHEREAS, during the pendency of this lawsuit, and without any admission of liability,

 the State and Settling Defendant engaged in settlement discussions regarding the State’s claims;

           WHEREAS, the State and Settling Defendant (each a “Party” and together, the

 “Parties”) desire to enter into this Consent Decree to fully and finally resolve all claims that have

 been and could now or hereafter be asserted by the Parties with respect to the Matters Addressed,

 as defined below, without the necessity or further expense of prolonged and complex litigation,

 and without admission of liability, adjudication, or determination of any issue of fact or law;

           WHEREAS, the State has determined that settlement of its claims against Settling

 Defendant in accordance with the terms set forth below is practicable and in the best interest

 of the public;

           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED BY AND

 BETWEEN THE UNDERSIGNED AS FOLLOWS:

           1.     Paragraphs 1-8, 12, and 14-22 of the First Supplemental Consent Decree, ECF

 No. 449-3, are incorporated by reference. All references to the Settling Defendants in those

 paragraphs shall include East End, and all references to the Decree in those paragraphs shall

 include this Consent Decree.

           2.     “Matters Addressed,” as that term is used in this Consent Decree, means the

 State’s claims for damages and costs which were asserted in its complaint.

           3.     East End shall pay $10,000 to the State within 30 days of the effective date of this

 decree.



                                                   2
Case 2:17-cv-02684-MKB-LB Document 480 Filed 09/19/22 Page 3 of 5 PageID #: 6807




        4.      The payment set forth above shall be made according to wire instructions to be

 provided by the State.

        5.      At the time payment is remitted, Settling Defendant shall provide written

 electronic notice of the remittance in accordance with paragraph 6 below. Failure to make the

 payment required in paragraph 3 in the time period specified therein shall constitute a default

 under this Consent Decree by Settling Defendant. In the event of such default, the State shall

 send written notice of the default to Settling Defendant. Such notice shall be sent via certified

 mail and electronic mail to Settling Defendant at the address noted below. Settling Defendant

 shall have thirty (30) days from the date of mailing to cure the default by payment of the amount

 originally due. If Settling Defendant fails to cure the default within that thirty (30) day period,

 the State shall be entitled (but not required) to demand the following: (1) interest of 12% per

 annum on the amount in default running from the original date of default; and (2) civil penalties

 in the amount of $100 per day running from the original date of default. Settling Defendant shall

 pay attorneys’ fees and costs incurred by the State after the thirty (30) day period for curing the

 default to enforce those provisions.

                                         NOTIFICATIONS
        6.      Any notification to the State or Settling Defendant shall be in writing or electronic

 mail and shall be deemed properly given if sent to the following (or to such other addresses as

 the Parties may specify):

                As to East End:
                Barbara Albom
                Attorney at Law
                647 Franklin Avenue, Suite 202
                Garden City, New York 11530
                (516) 551-5142
                balbom@albomlaw.com

                                                  3
Case 2:17-cv-02684-MKB-LB Document 480 Filed 09/19/22 Page 4 of 5 PageID #: 6808




                As to the State:
                Channing Wistar-Jones
                New York State Department of Law
                Environmental Protection Bureau
                28 Liberty Street, 19th Floor
                New York, New York 10005
                (212) 416-8446
                channing.jones@ag.ny.gov

                and

                Caryn Bower
                Office of General Counsel
                New York State Department of Environmental Conservation
                625 Broadway, 14th Floor
                Albany, NY 12233-1500
                518-402-9186
                caryn.bower@dec.ny.gov

        7.      Notification of the payment of natural resource damages made pursuant to

 paragraph 3 above shall also be sent via electronic mail by the State to:

                Karen Diligent
                Cost Recovery Section, Bureau of Program Management
                Division of Environmental Remediation
                New York State Department of Environmental Conservation
                625 Broadway, 12th Floor
                Albany, New York 12233
                (518) 402-9764
                Karen.Diligent@dec.ny.gov

                          COMPLETE AGREEMENT/SIGNATURES

        8.      This Consent Decree constitutes the complete agreement of the Parties. This

 Consent Decree may not be amended, modified, supplemented, or otherwise changed without

 approval of this Court and the written consent of both the State and Settling Defendant. This

 Consent Decree may be signed in counterparts.




                                                  4
Case 2:17-cv-02684-MKB-LB Document 480 Filed 09/19/22 Page 5 of 5 PageID #: 6809




         /s/ Channing Wistar-Jones



         August 23, 2022




                           SO ORDERED:
                           s/ MKB 9/17/2022
                           ______________________
                           MARGO K. BRODIE
                           United States District Judge
